617 F.2d 361
    Ethel M. DAVISON and David Davison, Appellants,v.SINAI HOSPITAL OF BALTIMORE, INC., a Body Corporate, andLionel Glassman, M.D. and Lionel Glassman &amp;Associates, P.A. and Zoena A.Yannakakis, M.D., Appellees.
    No. 79-1100.
    United States Court of Appeals, Fourth Circuit.
    Argued Dec. 5, 1979.Decided March 27, 1980.
    
      Donald F. Oakley, Baltimore, Md.  (Marvin Ellin, Jonathan Schochor, Ellin &amp; Baker, Baltimore, Md., on brief), for appellants.
      Angus R. Everton, Baltimore, Md.  (E. Dale Adkins, III, Anderson, Coe &amp; King, Alva P. Weaver, Baltimore, Md., on brief), for appellees.
      Before WINTER, RUSSELL and HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appellants appeal from the order of the district court dismissing, without prejudice, their medical malpractice diversity suit against the defendants.  The district court held that the Maryland Health Care Malpractice Claims Act1 precludes the bringing of this suit without first complying with the Maryland Health Care Malpractice Claims Act, which provides that the claim must first be presented to arbitration, and that compliance with this statute is a condition precedent to the bringing of the action.  The appellants contend that the federal courts should not adopt a Maryland procedural rule which thwarts significant federal policies as a choice of law in diversity actions, and that the arbitration requirement of Maryland's Health Care Malpractice Claims Act, as a condition precedent to suit in federal court, unconstitutionally defeats diversity jurisdiction in medical malpractice litigation.
    
    
      2
      We agree with the resolution of these issues by the district court and affirm its dismissal of the action, without prejudice, on the well-reasoned opinion of the district court, Davison v. Sinai Hospital of Baltimore, Inc., 462 F.Supp. 778 (D.Md.1978).2  Judgment of the district court is accordingly
    
    
      3
      AFFIRMED.
    
    
      
        1
         Md. Courts and Judicial Proceedings Code Ann. §§ 3-2A-01 et seq.  (Supp.1978)
      
      
        2
         See also Woods v. Holy Cross Hospital, 591 F.2d 1164 (5th Cir. 1979); Edelson v. Soricelli, 610 F.2d 131 (3d Cir. 1979); Seoane v. Ortho Pharmaceuticals, Inc., 472 F.Supp. 468 (E.D.La.1979)
      
    
    